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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

Case:2:19-cr-20772
Plaintiff, Judge: Berg, Terrence G.
MJ: Patti, Anthony P.
Filed: 11-21-2019 At 11:53 AM
Vv. INDI USA v MERCER-KINSER (af)

MATTHEW MERCER-KINSER, VIO: 18 U.S.C. § 2252A(a)(2)
18 U.S.C. § 2252A(a)(5)(B)
Defendant.

 

INDICTMENT

THE GRAND JORY CHARGES:
COUNT ONE

18 U.S.C. § 2252A(a)(2)
Receipt of Child Pornography

On or about and between July 20, 2019, through on or about October 10, 2019,
both dates being approximate and inclusive, within the Eastern District of Michigan
and elsewhere, the defendant, MATTHEW MERCER-KINSER, did knowingly
receive child pornography, that is, visual depictions of sexually explicit conduct,

including, but not limited to, the lascivious exhibition of the genitals or pubic area as

defined in 18 U.S.C. §2256(8)(A); and the images received by the defendant were

 

 
 

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mailed, shipped, and transported using the Internet, a means and facility of interstate
or foreign commerce, and were mailed, shipped, and transported in or affecting
interstate or foreign commerce by any means, including by computer, in violation of

Title 18, United States Code, Section 2252A(a)(2).

COUNT TWO

18 ULS.C. § 2252A(a)(5)(B)
Possession of Child Pornography

On or about and between July 20, 2019, through on or about October 10, 2019,
both dates being approximate and inclusive, within the Eastern District of Michigan
and elsewhere, the defendant, MATTHEW MERCER-KINSER, did knowingly
possess material containing child pornography, that is, visual depictions of sexually
explicit conduct that involved prepubescent minors and minors who had not attained
12 years of age, including, but not limited to, the lascivious exhibition of the genitals
or pubic area as defined in 18 U.S.C. § 2256(8)(A); where the production of such child
pomography involved the use of a real minor engaged in sexually explicit conduct,
that had been produced using materials that had been mailed and shipped and
transported in interstate and foreign commerce by any means, including by computer,

in violation of Title 18, United States Code, Section 2252A(a)(5)(B).
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FORFEITURE ALLEGATIONS

18 U.S.C. §2253; 28 U.S.C. § 2461(c)
Criminal Forfeiture

The allegations contained in Counts One and Two of this Indictment are hereby
re-alleged and incorporated by reference for the purpose of alleging forfeiture
pursuant to Title 18, United States Code, Section 2253, and Title 28 United States
Code, Section 2461(c).

Upon conviction of one or more of the offenses charged in Counts One and
Two of the Indictment, defendant shall, pursuant to Title 18, United States Code,
Section 2253, forfeit to the United States the following:

a) Any visual depiction described in Title 18, United States Code, Sections 2251,
2251A, or 2252, 2252A, 2252B, or 2260, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual depiction, which
was produced, transported, mailed, shipped, or received in violation of these

subsections;

b) Any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offense; and

c) Any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense or any property traceable to such

property.

If any of the property subject to forfeiture pursuant to Title 18, United States
Code, Section 2253, and Title 28 United States Code, Section 2461(c), as a result of

any act or omission of the defendant--

 

 
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a) cannot be located upon the exercise of due diligence;

b) has been transferred to, sold to, or deposited with a third party;

c) has been placed beyond the jurisdiction of this Court;

d) has been substantially diminished in value; or

e) has been commingled with other property which cannot be divided without

difficulty;

the United States of America intends to seek forfeiture of all other property of the

defendant up to the value of forfeiture applicable in this case.

MATTHEW SCHNEIDER
UNITED STATES ATTORNEY

s/ Matthew A. Roth

MATTHEW A. ROTH

Chief, General Crimes Unit
Assistant United States Attorney
211 West Fort Street, Suite 2001
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Phone: 313-226-9186

E-Mail: matthew.roth20@usdo}.gov

 

Dated: November 21, 2019

THIS IS A TRUE BILL.

s/ Grand Jury Foreperson
Grand Jury Foreperson

 

s/ Erin 8. Shaw
ERIN S. SHAW

 

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NOTE: !t is the responsibility of the Assistant U.S. Attorney signing this form to complete i INDI USA v MERCER-KINSER (af)
_Gompanion Case|nformation. | Companion Case Number:

This may be a companion case based upon LCrR 57.10 (b){4)': Judge Assigned:

Clyes No AUSA’s Initials: Po

 

Case Title: USAv. Matthew Mercer-Kinser

 

County where offense occurred : Wayne

Check One: X]Felony [_IMisdemeanor [ |Petty
Indictment/ Information --- no prior comptaint.
¥_Indictment/ Information --- based upon prior complaint [Case number: 19-30574 ]
Indictment/ Information --- based upon LCrR 57.10 {d) [Complete Superseding section below].

Superseding Case Information

 

Superseding to Case No: Judge:

 

 

[ |Corrects errors; no additional charges or defendants.
{_]tnvolves, for plea purposes, different charges or adds counts.
[| ]|Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

Civ FF
November 21, 2019 bw/ Fe

Date ErinS. Shaw
Assistant United States Attorney

211 W. Fort Street, Suite 2001
Detroit, Ml 48226-3277

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Fax: (313) 226-5464

E-Mail address: erin. shaw@usdoj.gov
Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
R/te
